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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

GLENN EDWARD SCOTT,                        §
        Defendant-Petitioner,              §
                                           §
VS.                                        §   CRIMINAL NO. H-02-0668-1
                                           §
                                           §
UNITED STATES OF AMERICA,                  §
         Plaintiff-Respondent.             §
                                           §

                                       ORDER

       Federal inmate Glenn Edward Scott has filed a letter asking for an extension of

time to file a motion to vacate, set aside, or correct the sentence he received in 2004.

(Docket Entry No. 220). Scott states that he needs an extension because he does not

have access to the transcript of the criminal proceedings and because he was

transferred to a different federal facility and does not have access to his legal

materials. The threshold issue is whether this court has jurisdiction to consider this

request.

       The facts of United States v. McFarland, 125 Fed. Appx. 573 (5th Cir. 2005),

are similar. A federal prisoner sent a letter to the district court stating that he had

placed his 28 U.S.C. § 2255 motion in the prison mail system, but the motion had

been lost. The prisoner asked what effect that would have on the limitations period
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for filing such a motion. The district court construed the letter as a motion for

extension of time to file a 28 U.S.C. § 2255 petition and denied it. The Fifth Circuit

denied a certificate of appealability and affirmed because the district court lacked

jurisdiction to entertain the request for additional time. The Fifth Circuit noted that

no 28 U.S.C. § 2255 petition had been filed in the district court; until then, the court

could not decide whether additional time should be granted.

      Similarly, Scott’s motion for an extension to file an as-yet-unfiled motion for

relief under § 2255 is premature. No extension is granted at this time. This does not

preclude Scott from seeking an extension later or from arguing that limitations has not

yet expired, nor predict how a court might rule on a motion for an extension of time

or a motion to dismiss because the petition is untimely.

      Scott’s request for an extension of time, (Docket Entry No. 220), is DENIED.

             SIGNED on May 30, 2006, at Houston, Texas.


                                     ______________________________________
                                                  Lee H. Rosenthal
                                             United States District Judge




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